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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION

UNITED STATES OF AMERICA,

       Plaintiff -Respondent,                               Case No. 14-cr-20427

v.                                                          Honorable Thomas L. Ludington

JOSEPH LARMONT JEFFERY,

      Defendant-Petitioner.
___________________________________/

                     ORDER DIRECTING ADDITIONAL RESPONSE

       On May 19, 2015, Defendant-Petitioner Joseph Larmont Jeffrey was sentenced to 140

months of incarceration for distributing cocaine base and aiding and abetting the same. ECF No.

157. Jeffrey did not appeal. On March 28, 2016, Jeffrey filed a motion for relief. ECF No. 213.

On April 12, 2016, Jeffrey clarified that he was requesting relief under 28 U.S.C. § 2255. ECF

No. 219. On September 26, 2016, Jeffrey filed a motion to amend his motion to vacate his

sentence. ECF No. 245. Each of these motions have been referred to Magistrate Judge Patricia T.

Morris. ECF Nos. 221, 246.

       On October 25, 2016, Judge Morris issued a report recommending that Jeffrey’s motions

be denied and the case dismissed. ECF No. 247. Jeffrey filed a letter which contained two

objections on November 16, 2016. First, Jeffrey argues that subsequent case law developments

impact his claims. Specifically, Jeffrey references United States v. Hinkle, 832 F.3d 569 (5th Cir.

2016) and Hill v. Masters, 836 F.3d 591 (6th Cir. 2016). In Hinkle, the Fifth Circuit extended the

Supreme Court’s rationale in Mathis v. United States, 136 S. Ct. 2243 (2016), to predicate drug

offenses under the Career Offender Guidelines. Because Jeffrey was sentenced under United

States Sentencing Guideline § 4B.1.1 and not the residual clause in § 4B1.2(a), Hinkle may be
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instructive. Second, Jeffrey objects that he did not have two prior controlled substance

convictions because he was only arrested once, on the same day. He argues that the single

investigation and arrest should correspond to only one predicate drug charge, not two.

       On December 12, 2016, the Court ordered the Government to respond to Jeffrey’s letter.

On December 19, 2016, the Government filed a response which addressed only Jeffrey’s second

objection. Because the Government’s response to Jeffrey’s letter was nonresponsive to Jeffrey’s

first argument, a supplemental response will be ordered.

       Accordingly, it is ORDERED that the Government is DIRECTED to file a

supplemental response to Defendant’s letter, ECF No. 248, addressing Jeffrey’s arguments

regarding United States v. Hinkle, 832 F.3d 569 (5th Cir. 2016), on or before January 17, 2017.


       Dated: January 10, 2017                                                s/Thomas L. Ludington
                                                                              THOMAS L. LUDINGTON
                                                                              United States District Judge




                                                 PROOF OF SERVICE

                        The undersigned certifies that a copy of the foregoing order was served
                        upon each attorney or party of record herein by electronic means or first
                        class U.S. mail on January 10, 2017.

                                                          s/Michael A. Sian
                                                          MICHAEL A. SIAN, Case Manager




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